                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

WANDA BRANDON, et al.,                        )
                                              )
          Plaintiffs,                         )
                                              )
          vs.                                 )       Case No. 4:22-cv-00635-SRC
                                              )
BOARD OF EDUCATION OF THE CITY                )
OF ST. LOUIS, et al.,                         )
                                              )
          Defendants.

                                     Memorandum and Order

          COVID-related restrictions continue to abate, but for some, the socioeconomic and legal

fallout remains. Restrictions impermissibly infringing on constitutional rights, like the right to

freely exercise one’s religion, spread across the country like a virus, as evidenced by the number

of court decisions finding them unconstitutional. But for this virus, a cure exists: the federal

courts stand open to ensure “steady, upright, and impartial administration of the laws” when

plaintiffs seek to vindicate constitutional and statutory rights that may have suffered invasion,

see The Federalist No. 78 (Alexander Hamilton). Forty-three educators and school staff

members seek that vindication here. Against the school board, the superintendent, and the chief

of human resources, these Plaintiffs raise multiple federal and state-law claims challenging the

implementation of a vaccination policy. Defendants move to dismiss all claims.

I.        Background

          The Court accepts the following well-pleaded facts of the amended complaint as true for

purposes of deciding the motion to dismiss. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007).




                                                  1
       Plaintiffs are 43 current and former employees of the St. Louis Public School District—

some of whom are certified teachers and some of whom are not—who each object to receiving

COVID-19 vaccines for religious reasons. Doc. 24 at ¶¶ 1, 12–54. Plaintiffs name as

Defendants: the Board of Education of the City of St. Louis; Kelvin Adams, who was at all

relevant times the Superintendent of the St. Louis Public School District; and Charles Burton,

who was at all relevant times the Chief Human Resources Officer for the St. Louis Public School

District. Id. at ¶¶ 55–57. Defendants (collectively “the District”) “are responsible for creating,

adopting, approving, ratifying, and enforcing the policies . . . of [the] Board.” Id. at ¶ 58.

       Defendant Board of Education of the City of St. Louis, a body corporate under the laws

of Missouri that operates the St. Louis Public School District, has the authority to make rules for

the regulation and management of the public schools. Id. at ¶ 61 (quoting Mo. Rev. Stat.

§ 162.621). In response to the COVID-19 pandemic, the Board of Education exercised its

statutory authority by adopting a policy in August of 2021 requiring all employees and staff

either to receive a COVID-19 vaccination or to obtain an exemption by October 15, 2021. Id. at

¶ 59. That policy reads, in part,

       By October 15, 2021, all individuals covered by this policy must either (a)
       establish that they are fully vaccinated, including timely receipt of all booster
       vaccine doses recommended by the CDC; or (b) obtain an approved exemption as
       an accommodation as set forth below. Covered individuals who do not fulfill one
       of these two requirements by October 15, 2021 shall be placed on unpaid leave
       and/or subject to discipline, up to and including termination. Individuals covered
       under this policy that [sic] obtain an approved exemption shall be subject to
       COVID-19 testing on Monday and Thursday each week.

Id. at ¶ 59 (emphasis omitted); Doc. 24-1 at p. 1.

       The Policy also explained the exemption-application process for individuals seeking

accommodations based on a disability, a medical condition, or religious beliefs. As to religious-

based exemptions, the Policy explained:

                                                  2
        The District provides reasonable accommodations, absent undue hardship, to
        employees with sincerely held religious beliefs, observances, or practices that
        conflict with getting vaccinated. If you believe you need an accommodation
        regarding this policy because of a sincerely held religious belief, you are
        responsible for requesting a reasonable accommodation from the Human
        Resources Department. You must use and submit the form(s) provided by the
        District in order to be eligible for an exemption.

Doc. 24 at ¶ 64; Doc. 24-1 at p. 2. The Policy contemplates that individuals who obtained an

exemption would continue to work as normal, “subject to COVID-19 testing” twice a week.

Doc. 24 at ¶ 65; Doc. 24-1 at p. 1. The District granted the majority—i.e., between 40 and 50—

of all exemption requests based on disabilities and medical conditions. Id. at ¶ 79–80. Those

who received these exemptions continued working subject to the testing requirement, except that

the District allegedly did not require testing until weeks after it granted the exemptions. Id. at

¶ 81–82, 138.

       In contrast, the District denied all requests for religious exemptions. Id. at ¶¶ 71–72.

Because of their sincerely held religious beliefs, Plaintiffs object to receiving COVID-19

vaccines that “used fetal cell line[s]” derived from the tissue of aborted fetuses in their research-

and-development or production stages. Id. at ¶¶ 114–15. As it happened, all available vaccines

at the time allegedly used such cell lines, so Plaintiffs sought exemptions. Id. at ¶ 115. The

District received between 150 and 200 religious-exemption requests—and categorically denied

all of them, apparently without the benefit of individualized review. Id. at ¶¶ 71–72, 78, 87.

       Burton, the Chief Human Resources Officer, and Karla Dozier, Director of Employee

Relations, allegedly decided to deny all requests for religious exemptions, id. at ¶ 78, even

though Adams, the Superintendent, had previously asserted at a Board meeting that the human

resources department would review all religious-exemption requests “on an individual basis,” id.

at ¶ 86. After submitting requests, Plaintiffs received substantially identical “Religious Vaccine

Exemption Response” letters in September of 2021. The letters stated, in relevant part:
                                                  3
       As a public entity, the St. Louis Public School District . . . must balance the
       constitutional obligation to provide a free public education to “all persons in this
       state within ages not in excess of twenty-one years . . .,” against the individual
       state and federal constitutional right to the free exercise of religion. Art. IX, Sec
       1(a), Mo. Const. . . . [T]here is insufficient information for the District to grant
       your request for a sincerely held religious exemption. In addition, the balance of
       competing constitutional interests weigh in favor of the rights of students
       ineligible to receive the vaccine. At this time, this decision is not subject to
       review; however, the District may consider additional information not previously
       presented with the original exemption request.

Id. at ¶ 99; Doc. 24-4 (second ellipsis and underline in original). The District eventually

suspended without pay and/or terminated between 100 and 127 of those who applied for a

religious exemption because they continued to refuse to receive vaccines after the District denied

their requests. Id. at ¶ 127. Defendant Adams allegedly issued statements of charges against the

teacher-Plaintiffs beginning on October 15, 2021, “indicating he was suspending them without

pay and was seeking their termination with the board.” Doc. 24 at ¶ 129. In October of 2021,

the District terminated the Plaintiffs who were not certified teachers as well. Id. at ¶ 134. The

District denied the religious-exemption requests of Plaintiffs Wendy Huddleston and Jamell

Wren but later granted them medical accommodations. Id. at ¶ 135.

       In January of 2022, the District changed course and granted “most” of the religious-

exemption requests. Id. at ¶ 145. The District sent to each teacher-Plaintiff whom the District

suspended without pay a letter titled “Exemption Approval, Return to Work, and New Statement

of Charges” indicating that the District was “now able to grant your request for sincerely held

religious exemption.” Id. at ¶ 146. The District sent to each non-certified Plaintiff, whom the

District terminated, a letter titled “Exemption Approval and Reappointment.” Id. at 148. The

District re-hired all non-certified Plaintiffs except Angel Scott and Tomeka Slaughter. Id. at

¶ 150. The District did not pay teacher-Plaintiffs during their suspension, nor did it back-pay the




                                                 4
rehired, non-certified Plaintiffs from the date of their termination to the date of their

reappointment. Id. at ¶¶ 147, 149.

II.    Standard

       Under Rule 12(b)(6), a party may move to dismiss a claim for “failure to state a claim

upon which relief can be granted.” The notice pleading standard of Rule 8(a)(2) of the Federal

Rules of Civil Procedure requires a plaintiff to give “a short and plain statement . . . showing that

the pleader is entitled to relief.” To meet this standard and to survive a Rule 12(b)(6) motion to

dismiss, “a complaint must contain sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal

quotations and citation omitted). This requirement of facial plausibility means the factual

content of the plaintiff’s allegations must “allow[] the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Park Irmat Drug Corp. v. Express Scripts

Holding Co., 911 F.3d 505, 512 (8th Cir. 2018) (quoting Iqbal, 556 U.S. at 678). The Court

must make all reasonable inferences in favor of the nonmoving party. Lustgraaf v. Behrens, 619

F.3d 867, 872–73 (8th Cir. 2010).

       When ruling on a motion to dismiss, a court must liberally construe a complaint in favor

of the plaintiff. Huggins v. FedEx Ground Package Sys., Inc., 592 F.3d 853, 862 (8th Cir. 2010).

However, if a claim fails to allege one of the elements necessary to recovery on a legal theory,

the Court must dismiss that claim for failure to state a claim upon which relief can be granted.

Crest Constr. II, Inc. v. Doe, 660 F.3d 346, 355 (8th Cir. 2011). Threadbare recitals of a cause of

action, supported by mere conclusory statements, do not suffice. Iqbal, 556 U.S. at 678; Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007). Rule 8 does not “unlock the doors of discovery for

a plaintiff armed with nothing more than conclusions.” Iqbal, 556 U.S. at 678–79. “A pleading



                                                   5
that merely pleads labels and conclusions or a formulaic recitation of the elements of a cause of

action, or naked assertions devoid of factual enhancement will not suffice.” Hamilton v. Palm,

621 F.3d 816, 817 (8th Cir. 2010) (internal quotations omitted). Although courts must accept all

factual allegations as true, they are not bound to accept as true a legal conclusion couched as a

factual allegation. Twombly, 550 U.S. at 555 (internal quotations and citation omitted); Iqbal,

556 U.S. at 677–78.

       Only a complaint that states a plausible claim for relief survives a motion to dismiss.

Iqbal, 556 U.S. at 679. Therefore, the Court must determine if the well-pleaded factual

allegations “plausibly give rise to an entitlement to relief.” Id. This “context-specific” task

requires the court to “draw on its judicial experience and common sense.” Id. at 679, 682.

III.   Discussion

       Against all Defendants, Plaintiffs bring claims under the First Amendment (count 1), the

Due Process Clause of the Fourteenth Amendment (count 2), the Equal Protection Clause (count

3), the Missouri Religious Freedom Restoration Act (count 6), and a Missouri statute prohibiting

employers from discharging and discriminating against employers for refusing to participate in

abortion (count 7). Doc. 24. Against Defendant Board of Education of the City of St. Louis,

Plaintiffs bring a claim under the Missouri Human Rights Act (count 4) and Title VII of the Civil

Rights Act of 1964 (count 5). Id. Defendants move to dismiss all counts for failure to state a

claim. Doc. 27. The Court partially grants and partially denies the motion.

       A.      First-Amendment Claim

       The District’s alleged Policy put Plaintiffs to a choice: compromise their convictions or

lose their livelihoods. The Free Exercise Clause of the First Amendment, which applies to the

States under the Fourteenth Amendment, provides that “Congress shall make no law . . .



                                                 6
prohibiting the free exercise” of religion. U.S. Const. amend. I. The Clause “does perhaps its

most important work by protecting the ability of those who hold religious beliefs of all kinds to

live out their faiths in daily life through ‘the performance of (or abstention from) physical acts.’”

Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407, 2421 (2022) (quoting Emp. Div., Dept. of

Hum. Res. of Ore. v. Smith, 494 U.S. 872, 877 (1990)). Bringing an action under 42 U.S.C.

§ 1983, Plaintiffs plead that the District’s implementation of this Policy violated their First-

Amendment rights because it impermissibly burdened their sincerely held religious beliefs—

which compelled them to abstain from receiving certain COVID-19 vaccines. Accordingly, the

Court must decide whether Plaintiffs have pleaded facts, accepted as true, supporting the

inference that the District, under the appropriate standard of review, impermissibly burdened

their religious beliefs through the Policy. See Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1294

(11th Cir. 2007) (“To plead a valid free exercise claim, [a plaintiff] must allege that the

government has impermissibly burdened one of his ‘sincerely held religious beliefs.’”

(quoting Frazee v. Ill. Dept. of Emp. Sec’y, 489 U.S. 829, 834 (1989))).

               1.      The Court must apply strict scrutiny to the Policy.

       The parties disagree on what standard of review the Court must apply. The District

argues that the “deferential” standard of Jacobson v. Commonwealth of Massachusetts, 197 U.S.

11 (1905), “applies to state action during a public health crisis.” Doc. 28 at p. 9. In Jacobson,

the Supreme Court rejected a challenge to a city-wide, smallpox-vaccination mandate. 197 U.S.

at 11–13, 39. The District points to In Re Rutledge, a COVID-19 case in which the Eighth

Circuit held that the district court abused its discretion in failing to meaningfully apply Jacobson

to a challenged April 2020 ban on elective surgical procedures. 956 F.3d 1018, 1028 (8th Cir.

2020). In that case, the Eighth Circuit described Jacobson as standing for the proposition that,



                                                  7
“when faced with a public health crisis, a state may implement measures that infringe on

constitutional rights, subject to certain limitations.” Id. at 1027 (citing Jacobson, 197 U.S. at 26–

31).

       For their part, Plaintiffs argue that the Supreme Court’s traditional three tiers of

scrutiny—and specifically strict scrutiny—apply to the Policy, not Jacobson, because “the

actions of the defendants were not done during a period of a public health crisis necessitating

emergency public health initiatives . . . .” Doc. 32 at p. 5–6. Plaintiffs rely on a later Eight

Circuit case, Heights Apartments, LLC v. Walz, 30 F.4th 720 (8th Cir. 2022), in which a

residential-property owner challenged the constitutionality of pandemic-related eviction

moratoria. In Heights Apartments, the Eighth Circuit held that “Jacobson . . . is not wholly

inconsistent with the application of the[] tiers [of scrutiny].” Id. at 726 (citing Roman Cath.

Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 70 (2020) (Gorsuch, J., concurring)). The court

then clarified why it applied Jacobson in its earlier In re Rutledge decision:

       When this Court decided In re Rutledge [in April of 2020], we were in the early
       days of the pandemic. Much was unknown at that time—governmental leaders
       were acting on the best information available and needed to move quickly given
       the nature of the emergency. At a time when local authorities were confronted
       with a public health crisis that was rapidly developing, poorly understood, and in
       need of immediate and decisive action, Jacobson seemed to be the best guide for
       navigating constitutional challenges to emergency public health initiatives. The
       public health crisis has since evolved, and time is available for more reasoned and
       less immediate decision-making by public health officials. In addition, the
       Supreme Court has since given guidance that is instructive regarding our standard
       of review during public health crises.

Id. at 726–27 (first citing Chrysafis v. Marks, 141 S. Ct. 2482 (2021); and then citing Tandon v.

Newsom, 141 S. Ct. 1294, 1296–97 (2021)). In Chrysafis, the Supreme Court enjoined part of

New York’s COVID-19 Emergency Eviction and Foreclosure Prevention Act due to alleged due-

process violations without mentioning Jacobson. 141 S. Ct. at 2482–83. And in Tandon, the



                                                  8
Court applied strict scrutiny, rather than Jacobson, to California’s restrictions on religious

gatherings. 141 S. Ct. at 1296–97. In Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct.

63, 67 (2020), which the Heights Apartments court also relied on, the Supreme Court applied

strict scrutiny to a pandemic-related executive order that imposed restrictions on attendance at

religious services. Heights Apartments, 30 F.4th at 726.

        In light of those Supreme Court decisions—which came after In re Rutledge—the Eighth

Circuit concluded in Heights Apartments that “[s]ome of the damages [Heights Apartments]

allegedly suffered likely occurred during the public health crisis when Jacobson deference would

be applicable. Some likely occurred after the immediate public health crisis dissipated, and

traditional levels of scrutiny are applicable.” Heights Apartments, 30 F.4th at 727 (citing Roman

Cath. Diocese, 141 S. Ct. at 65, 70). “It is a factual determination left to the district court on

remand to resolve when during the pandemic the constitutional lens shifted from Jacobson

deference to the . . . tiers of scrutiny.” Id.

        Heights Apartments, then, instructs district courts to apply Jacobson to laws passed and

enforced while an emerging public-health emergency is “developing rapidly, poorly understood,

and in need of immediate and decisive action,” 30 F.4th at 726–27, but the tiers of scrutiny

when “time [was] available for more reasoned and less immediate decision-making by public

health officials” and “the immediate public health crisis [had] dissipated,” id. at 727. Again,

which standard applies depends upon a “factual determination,” id., and the Court must at this

point accept Plaintiffs’ well-pleaded factual allegations as true, see Iqbal, 556 U.S. at 678.

Because Plaintiffs have pleaded the existence of a late-2021 policy apparently lacking the

urgency that characterized the regulations and executive orders issued early in the pandemic,




                                                  9
Heights Apartments compels the Court—at least for now—to apply the ordinary tiers of scrutiny

to the District’s Policy as alleged.

        Many of Plaintiffs’ factual allegations lead the Court to draw the reasonable inference

that the District implemented the Policy when “time [was] available for more reasoned and less

immediate decision-making” and “after the immediate public health crisis [had] dissipated.”

Heights Apartments, 30 F.4th at 727. First, the Policy came relatively “late” in the pandemic.

The District allegedly enacted the Policy in late August of 2021—well over one year after the

Governor of Arkansas issued the executive orders at issue in In re Rutledge, Doc. 24 at ¶ 59, and

well after the Supreme Court had begun applying strict scrutiny to challenged, pandemic-related

laws. See, e.g., Roman Cath. Dioc., 141 S. Ct. at 65 (decided in November of 2020); Tandon,

141 S. Ct. at 1296 (decided in April of 2021). The Policy also came well after the “stay at

home” orders at issue in SH3 Health Consulting, LLC v. Page, 459 F. Supp. 3d 1212, 1217 (E.D.

Mo. 2020), where on a motion for a temporary restraining order this Court applied Jacobson and

Rutledge to those orders. As the Eighth Circuit explained in Heights Apartments, both the legal

and factual landscape have meaningfully changed since then.

        Second, the alleged Policy lacks a sense of urgency. The Policy, adopted on August 24,

2021, allowed individuals who objected to the vaccines on religious grounds an entire month to

fill out and submit the exemption-request form for review. Doc. 24-2 at p. 2 (“Please be sure to

submit your completed exemption form on or before September 24, 2021 in order to be

considered for an exemption.”). And even after an applicant submitted a request, the Policy, on

its face and as explained by the District, provided for a system in which the District would

review that exemption request. Doc. 24 at ¶¶ 59, 63–67; Doc. 24-1 at ¶ 1–2. Defendant Adams

allegedly represented at a board meeting that each request for a religious accommodation would



                                                10
receive individual attention. The existence of a system of individualized administrative review

suggests that the District planned to devote the time necessary to review each request. Doc. 24 at

¶ 86; see also Doc. 24-2 at p. 2. While it appears that the District did not end up reviewing

religious requests individually, Doc. 24 at ¶¶ 87–88, 98–99, it did take the time to review

medical and disability requests on an individual basis: it granted the majority of disability-based

and medical-based exemption requests—i.e., between 40 and 50—that it received, id. at ¶¶ 79,

80, 86. Common sense dictates, and Plaintiffs’ allegations show, that such an administrative

review process existed for the purpose of making individualized, “more reasoned” decisions.

Heights Apartments, 30 F.4th at 727; Iqbal, 556 U.S. at 682 (The Court must “draw on its

judicial experience and common sense.”). Such a process would take more time than a school

district could likely spare in the face of a truly emergent and poorly understood public-health

crisis.

          Third, Plaintiffs allege the existence of reasonable accommodations that would impose

“at most a de minimis cost to Defendants”: “masking, remote teleworking, physical distancing,

and regular testing.” Doc. 24 at ¶¶ 90, 179. The existence of such accommodations, and the fact

that the Policy apparently allowed the District to factor their existence into its decisions, Doc.

24-1, supports the inference that the state of affairs did not require the sort of immediate,

decisive government action that would compel the application of Jacobson under Heights

Apartments. Rather, the District crafted a Policy that contemplated a process for “more reasoned

and less immediate decision-making” in individual cases, Heights Apartments, 30 F.4th at 727,

and it indeed followed that process at least for certain kinds of requests.

          So, for purposes of the motion to dismiss, the tiers of scrutiny apply. See Heights

Apartments, 30 F.4th at 727. Under the Free Exercise Clause of the First Amendment, a law that



                                                  11
burdens religious practice need not be justified by a compelling government interest if it is

neutral and of general applicability. Smith, 494 U.S. at 881. If, however, a plaintiff shows that

(1) the government has burdened his sincere religious beliefs (2) pursuant to a policy that is not

neutral and generally applicable, (3) the government must then “satisfy ‘strict scrutiny’ by

demonstrating its course was justified by a compelling state interest and was narrowly tailored in

pursuit of that interest.” Kennedy, 142 S. Ct. at 2421–22 (quoting Church of the Lukumi Babalu

Aye, Inc. v. City of Hialeah, 508 U.S. 520, 546 (1993)); see also Lukumi, 508 U.S. at 546 (“A

law [1] burdening religious practice [2] that is not neutral or not of general application [3] must

undergo the most rigorous of scrutiny. To satisfy the commands of the First Amendment, a law

restrictive of religious practice must advance ‘interests of the highest order’ and must be

narrowly tailored in pursuit of those interests.” (quoting McDaniel v. Paty, 435 U.S. 618, 628

(1978))).

               2.      The District plausibly burdened Plaintiffs’ religious beliefs.

       The District apparently does not dispute that it burdened Plaintiffs’ sincere religious

beliefs. See Doc. 28 at pp. 18–21. It does not question whether Plaintiffs’ abstention from

vaccination truly resulted from their sincerely held religious beliefs. Docs. 28, 33; Doc. 24 at

¶ 139. It does not dispute that it terminated Plaintiffs for activity resulting from their sincerely

held religious beliefs. See Docs. 28, 33. Because the amended complaint and parties’ briefing

take those facts for granted, the Court concludes that Plaintiffs have plausibly alleged that the

District burdened their beliefs through the Policy by putting them to the choice of losing their

livelihoods or compromising their religious convictions. See Kennedy, 142 S. Ct. at 2422

(concluding that a school district burdened high-school coach’s religious beliefs when it

disciplined him for praying quietly, without his players, after games); Fulton v. City of



                                                  12
Philadelphia, 141 S. Ct. 1868, 1876 (2021) (“As an initial matter, it is plain that the City’s

actions have burdened CSS’s religious exercise by putting it to the choice of curtailing its

mission or approving relationships inconsistent with its beliefs.”).

               3.      The Policy is not neutral and generally applicable.

       Having found that the District burdened Plaintiffs’ beliefs, the question becomes whether

it did so “pursuant to a policy that is not ‘neutral’ or ‘generally applicable.’” Kennedy, 142 S. Ct.

at 2421–22 (quoting Smith, 494 U.S. at 879–81). As noted, under Smith and its progeny, laws

incidentally burdening religion are subject to strict scrutiny under the Free Exercise Clause if

they are not neutral and generally applicable. Fulton, 141 S. Ct. at 1876 (citing Smith, 494 U.S.

at 878–82). The Board characterizes the Policy as “neutral and generally applicable” under

Smith—and therefore not subject to strict-scrutiny review—because it applied to all staff. Doc.

28 at pp. 11–13. Plaintiffs counter that, under recent Supreme Court precedent, the Policy as

alleged is clearly not generally applicable because it contains a mechanism for exemptions at the

sole discretion of the District. Doc. 32 at pp. 7–11. Plaintiffs have the better argument.

       Plaintiffs rely on Fulton v. City of Philadelphia, in which the City of Philadelphia

contracted with foster care agencies like Catholic Social Services (CSS) to place foster children

with foster families that CSS “certified” based on a home study. 141 S. Ct. at 1874–75. In 2018,

the City informed CSS that it would no longer refer children to CSS because, even though no

same-sex couple had ever sought certification from CSS, CSS’s religious beliefs would prevent it

from certifying same-sex couples as foster families. Id. The City pointed to a non-

discrimination provision in its contract with CSS and a citywide ordinance. Id. at 1875. The

contractual provision read: “Provider shall not reject a child or family . . . for Services based

upon . . . their . . . sexual orientation . . . unless an exception is granted by the Commissioner or

the Commissioner’s designee, in his/her sole discretion.” Id. at 1878 (emphasis added). Chief
                                                  13
Justice Roberts, writing for a unanimous Court, rejected the City’s arguments that the provision

was generally applicable, holding that “[t]he creation of a formal mechanism for granting

exceptions renders a policy not generally applicable, regardless of whether any exceptions have

been given, because it ‘invite[s]’ the government to decide which reasons for not complying with

the policy are worthy of solicitude.” Id. at 1879 (quoting Smith, 494 U.S. at 884).

       The Policy as alleged here clearly involves “a formal mechanism for granting

exceptions.” Id. The Policy reads: “[A]ll individuals covered by this policy must either (a)

[prove they are fully vaccinated]; or (b) obtain an approved exemption as an accommodation as

set forth below.” Doc. 24 at ¶ 59; Doc. 24-1 at p. 1. “[C]overed” individuals include those

seeking medical, religious, and disability-related exemptions. Id. The Policy then directed those

seeking an exemption to file the appropriate paperwork with the Human Resources Department,

where each request would supposedly receive individualized review. Doc. 24 at ¶ 86; Doc. 24-1

at p. 2. The fact that the Policy contemplates categories of exemption-requests and provides for

a system of individualized review compels the conclusion that the Policy contains a “formal

mechanism for granting exceptions.” Fulton, 141 S. Ct. at 1879.

       Despite the fact that the Policy contains a formal mechanism for exemptions, the District

argues that strict scrutiny does not apply because courts have declined to apply strict scrutiny

even in cases where the challenged vaccination policy contained no process for religious

exemptions. Doc. 28 at p. 12. And so, the argument goes, the Policy here is more favorable to

religion because it at least contains a mechanism for exemptions. But the District fails to realize

that, under Fulton, the very existence of such a mechanism is precisely what invites strict-

scrutiny review because that mechanism renders the Policy not generally applicable. 141 S. Ct.

at 1879 (quoting Smith, 494 U.S. at 884).



                                                14
       The District also attempts to distinguish the Policy here from the one at issue in Fulton by

arguing that “[u]nlike the State action in Fulton, Plaintiffs do not allege that the District made

individualized [religious] exceptions to the Policy. Rather, Plaintiffs allege that the District

categorically denied all exemption requests, then granted requests at a later date. Doc. 33 at p. 5

(citing Doc. 24 at ¶¶ 70–72, 87, 145) (emphasis deleted). Indeed. But again, what renders the

Policy not generally applicable is the implementation of a “formal mechanism for granting

exemptions”—the existence of which Plaintiffs have alleged and the District concedes—

“regardless of whether any exceptions have been given.” Fulton, 141 S. Ct. at 1879 (emphasis

added). As noted above, the language of the Policy, as alleged, clearly contemplates a system of

discretionary, individualized “disability accommodation[s],” “religious exemption[s],” and

“exemption[s] for other medical reasons.” Doc. 24 at ¶¶ 59, 63–65; Doc. 24-1.

       How the District eventually used its discretion in granting or denying requests does not

necessarily render this case distinguishable from Fulton. In Fulton, the Court noted that the City

had never actually used its authority to grant an exception and instead focused on the crucial fact

that exemption mechanisms, however used, “‘invite[]’ the government to decide which reasons

for not complying with the policy are worthy of solicitude.” 141 S. Ct. at 1878–79 (quoting

Smith, 494 U.S. at 884). And in this case, the District indeed decided which reasons were worthy

of solicitude: it reviewed all, and granted most, non-religious requests yet denied, without

review, all religious requests. Doc. 24 at ¶ 71, 84, 86–87. Because the mechanism here invited

the District to decide which reasons for not receiving the vaccine were worthy of solicitude, this

case, like Fulton, “falls outside of Smith,” and strict scrutiny applies. 141 S. Ct. at 1877.




                                                 15
               4.      The Court can draw the reasonable inference that the alleged
                       implementation of the Policy was not narrowly tailored in pursuit of a
                       compelling state interest.

       Because the District plausibly burdened Plaintiffs’ religious beliefs through a Policy that

was not generally applicable, the question becomes whether the District’s “course was [1]

justified by a compelling state interest and [2] was narrowly tailored in pursuit of that interest.”

Kennedy, 142 S. Ct. at 2422 (citing Lukumi, 508 U.S. at 546) (emphasis added). The Policy as

plausibly alleged fails both prongs.

       First, the Court can draw the reasonable inference the District’s course was not justified

by a compelling interest. Analyzing the City’s non-discrimination policies under this prong in

Fulton, the Supreme Court “scrutinize[d] the asserted harm of granting specific exemptions to

the particular religious claimants.” 141 S. Ct. at 1881 (quoting Gonzales v. O Centro Espírita

Beneficente União do Vegetal, 546 U.S. 418, 431 (2016)). In other words, the question was “not

whether the City ha[d] a compelling interest in enforcing its non-discrimination policies

generally, but whether it ha[d] such an interest in denying an exception to CSS.” Id. (emphasis

added). The City asserted three interests to justify its course of action, all of which the Court

found “insufficient”: (1) “[m]aximizing the number of foster families”; (2) “minimizing

liability”; and (3) “the equal treatment of prospective foster parents and foster children.” Id. at

1881–82. As to the first two interests, the Court held that granting CSS an exemption would

likely serve—rather than undermine—its goal of increasing the number of foster families and

that its concern about “liability” was too speculative “to satisfy strict scrutiny.” Id. at 1882. As

to the third, the Court acknowledged its “weight[]” but found that it ultimately did not “justify

denying CSS an exemption” in part because “[t]he City offers no compelling reason why it has a

particular interest in denying an exception to CSS while making them available to others.” Id.



                                                 16
       Here, too, the Court must ask not whether the District has an interest in enforcing the

Policy “generally,” but whether it had an interest in denying exceptions to Plaintiffs. See id. at

1881. The District “may not refuse to extend th[e] [exemption] system to cases of ‘religious

hardship’ without compelling reason.” Id. at 1878 (quoting Smith, 494 U.S. at 884) (second

alteration in original). The District asserts two interests: (1) “provid[ing] a free public education

to students,” Doc. 24-1 at p. 1; and (2) stemming the spread of COVID-19 so as to “safeguard

the health and well-being of employees and their families,” id.

       As to the first interest, the Court notes—as the Supreme Court did in Fulton—that

granting exemptions likely, or at least plausibly, would have served this interest. The District

writes that it could not have accommodated exemptions because, at that time, employees had to

quarantine for 14 days after coming into close contact with an infected person. Doc. 28 at p. 20

That, the District argues, would have compromised its mission of providing a free, public

education by causing a “critical Staff shortage.” Id. at p. 20. But when the District suspended

and/or terminated over 100 employees en masse for refusing the vaccine, the District may have

imposed on itself a staff shortage of a worse nature than the one it sought to avoid in the first

place. Which is worse: the speculative prospect that some of those 100-plus employees, at some

time in the future, might have to quarantine for two weeks (or whatever quarantine period may

have then been in effect), or an abrupt shortage of over 100 employees? The Court need not

answer that question here; it simply notes that it can reasonably infer that the District’s first

asserted interest plausibly does not suffice.

       As to the District’s second asserted interest—stemming the spread of COVID-19—the

Court acknowledges, at a certain level of generality, its weight. See Roman Cath. Diocese, 141

S. Ct. at 67 (“Stemming the spread of COVID-19 [was] a compelling interest.”). But, like the



                                                  17
City in Fulton, the District has “offer[ed] no compelling reason why it has a particular interest in

denying . . . exception[s] to [Plaintiffs] while making them available to others”—i.e., some of

those who applied for disability and medical exemptions. Fulton, 141 S. Ct. at 1882; Doc. 24 at

¶ 84. In other words, what is it about stemming the spread of COVID-19 that allegedly

“compell[ed’]” the District to deny without review all requests for religious exemptions—simply

because they were religious—while reviewing all and granting some of the other kinds of

requests? Fulton, 141 S. Ct. at 1878 (quoting Smith, 494 U.S. at 884); Doc. 24 at ¶¶ 72, 79–80,

84, 86–88. So the second interest, too, while important, is plausibly “insufficient to satisfy strict

scrutiny.” Fulton, 141 S. Ct. at 1882. Finding that the Policy plausibly fails the first prong of

strict-scrutiny analysis alone means that Plaintiffs’ First-Amendment claim survives the instant

motion.

          And even assuming that the District had a compelling interest in denying exemptions to

Plaintiffs, the Court can easily infer that the alleged Policy as applied would plausibly fail the

second prong of strict-scrutiny analysis because it was not “narrowly tailored”:

       narrow tailoring requires the government to show that measures less restrictive of
       the First Amendment activity could not address its interest in reducing the spread
       of COVID. Where the government permits other activities to proceed with
       precautions, it must show that the religious exercise at issue is more dangerous
       than those activities even when the same precautions are applied. Otherwise,
       precautions that suffice for other activities suffice for religious exercise too.

Tandon, 141 S. Ct. at 1296–97 (first citing Roman Catholic Diocese, 141 S. Ct. at 69–70; and

then citing South Bay United Pentecostal Church v. Newsom, 141 S. Ct. 716, 719 (2021)

(statement of Gorsuch, J.)).

       The District ultimately bears the burden of establishing narrow tailoring, id. at 1296, but

for present purposes it suffices to note that Plaintiffs have plausibly alleged a Policy that appears

not to be narrowly tailored for the simple reason that the Policy—by its own terms—

                                                 18
contemplated a set of minimally restrictive accommodations, including regular testing, for those

whom the District granted exemptions. And the Court can reasonably infer that these

accommodations could address its interest “in reducing the spread of COVID,” id. at 1297, and

in ensuring that it would have enough staff to fulfill its duty of educating students. The fact that

the District allowed 40 to 50 applicants to submit to regular testing and to continue working

supports this inference. Doc. 24 at ¶ 79. Further, Plaintiffs allege the existence of other less

restrictive accommodations, beyond testing, that was available to the District: masking, physical

distancing, and the option for remote work in the case of an exposure. Doc. 24 at ¶¶ 65–66, 113,

179. Such accommodations for Plaintiffs, of course, would have been far “less restrictive of

[Plaintiffs’] First Amendment activity,” i.e., refusing vaccination. Tandon, 141 S. Ct. at 1296–

97. Indeed, such accommodations might have eliminated the First-Amendment concerns

altogether. Accordingly, the Policy as alleged plausibly fails strict scrutiny, and the Court denies

Defendants’ motion as to count 1.

       As a final matter, the Court notes here that the District seems to argue as if Plaintiffs have

only challenged the Policy on its face, neglecting to address the constitutionality of the Policy as

applied. Docs. 28, 33. While the facial/as-applied distinction “does not control the pleadings” or

affect the present analysis, the distinction will become necessary at the remedial stage because it

“goes to the breadth of the remedy employed by the Court.” Citizens United v. Fed. Election

Comm’n, 558 U.S. 310, 331 (2010). The Court therefore expects the parties to be prepared to

address the remedial question at the proper time.

       B.      Privacy Claim

       Plaintiffs bring a substantive-due-process claim under § 1983 alleging that the District’s

Policy deprived them of their right to privacy, autonomy, and personal identity through the



                                                 19
Policy. Plaintiffs argue that this right originates in the Due Process Clause of the Fourteenth

Amendment, which states in relevant part, “No State shall . . . deprive any person of life, liberty,

or property, without due process of law.” U.S. Const. amend. XIV.

       The Due Process Clause “protects two categories of substantive rights. The first consists

of rights guaranteed by the first eight Amendments. . . . The second category . . . comprises a

select list of fundamental rights that are not mentioned anywhere in the Constitution.” Dobbs v.

Jackson Women’s Health Org., 142 S. Ct. 2228, 2246 (2022). To qualify as an unenumerated

right under the Fourteenth Amendment, it must be “‘deeply rooted in this Nation’s history and

tradition’ and ‘implicit in the concept of ordered liberty.’” Id. at 2259 (quoting Washington v.

Glucksberg, 521 U.S. 702, 721 (1997)). That test is a hard one to pass: courts must be “reluctant

to expand the concept of substantive due process because guideposts for responsible

decisionmaking in this unchartered area are scarce and open-ended.” Collins v. City of Harker

Heights, 503 U.S. 115, 125 (1992) (citing Regents of Univ. of Mich. v. Ewing, 474 U.S. 214, 225–

26 (1985)); see also Glucksberg, 521 U.S. at 720 (“We must . . . ‘exercise the utmost care

whenever we are asked to break new ground in this field,’ lest the liberty protected by the Due

Process Clause be subtly transformed into the policy preferences of the Members of this Court.”

(first quoting Collins v. Harker Heights, 503 U.S. 115, 125 (1992); and then citing Moore v. East

Cleveland, 431 U.S. 494, 502 (1997)).

       Whether an asserted right qualifies as “fundamental” under the Clause determines the

standard of review. “Legislation infringing a fundamental right must survive strict scrutiny—the

law must be ‘narrowly tailored to serve a compelling state interest.’” Gallagher v. City of

Clayton, 699 F.3d 1013, 1017 (8th Cir. 2012) (quoting Glucksberg, 521 U.S. at 721). On the

other hand, the Court must “uphold” state action “that does not . . . restrict a fundamental right



                                                 20
against a[] . . . substantive due process challenge if it is rationally related to a legitimate state

interest.” Birchansky v. Clabaugh, 955 F.3d 751, 757 (8th Cir. 2020) (first citing F.C.C. v. Beach

Comms., Inc., 508 U.S. 307, 313 (1993); and then citing Kansas City Taxi Cab Drivers Ass’n,

LLC v. City of Kansas City, 742 F.3d 807, 809 (8th Cir. 2013). “The law’s rational relation to a

state interest need only be conceivable . . . .” Id. (citing F.C.C., 508 U.S. at 315).

        To determine the standard of review, the Court first asks whether the alleged Policy

plausibly implicates a fundamental right. If not, the Court must review for rational basis, asking

whether Plaintiffs’ allegations support the reasonable inference that no conceivable, rational

relation between the Policy and the state interests exists. See Carter v. Arkansas, 392 F.3d 965,

968 (8th Cir. 2004) (“[A] district court may conduct a rational basis review on a motion to

dismiss.”).

        Plaintiffs’ supposed fundamental right to refuse mandatory vaccination would fall into the

second category of Fourteenth-Amendment rights—i.e., those “that are not mentioned anywhere

in the Constitution.” Dobbs, 142 S. Ct. at 2246. But the Court would first have to assure itself

that the right is “deeply rooted in this Nation’s history and tradition.” Dobbs, 142 S. Ct. at 2260.

The parties have presented the Court with woefully meager briefing on this issue; however, the

Court’s duty to “say what the law is,” and apply it faithfully, remains. Marbury v. Madison, 5

U.S. (1 Cranch) 137, 177 (1803). While not the clearest area of constitutional law generally,

substantive-due-process precedent compels a straightforward answer here: no such fundamental

right or interest exists.

        In 1988, the D.C. Circuit noted that “the Supreme Court has not recognized that the

decision to reject vaccination implicates a ‘fundamental interest,’ although bodily invasion and

medical treatment are unavoidably involved.” New York State Ophthalmological Soc’y v. Bowen,



                                                   21
854 F.2d 1379, 1391 (D.C. Cir. 1988) (citing Jacobson, 197 U.S. 11). Plaintiffs rely chiefly (in

fact, exclusively) on a Supreme Court case decided two years later, Cruzan v. Director, Mo. Dep’t

of Health, 497 U.S. 261 (1990). Doc. 32 at p. 13. In that case, the Supreme Court held that the

Due Process Clause does not forbid Missouri from requiring clear and convincing evidence of an

incompetent person’s wishes as to the withdrawal of life-sustaining treatment. Id. at 2852–53.

Part of the reasoning leading to that conclusion involved an assumption based on previous

cases—chiefly Jacobson—that “a competent person has a constitutionally protected liberty

interest in refusing unwanted medical treatment.” 497 U.S. 261, 278 (1990) (citing Jacobson,

197 U.S. at 24–30) (emphasis added). As the Court explained, Jacobson recognized the

plaintiff’s liberty interest in refusing the vaccine, but under the applicable standard of review, the

State’s interest in preventing disease prevailed. Id. Notably, the Cruzan Court did not classify

the liberty interest as “fundamental.”

       Plaintiffs have not offered the Court any additional legal support, or any historical

arguments, of the sort that a Glucksberg analysis would require—nor does it appear they could.

The Court has not found any cases holding that individuals have a fundamental right under the

Due Process Clause to refuse unwanted vaccines. In fact, the Courts of Appeals that have

addressed this issue have unanimously held otherwise. First, in Klaassen v. Trustees of Indiana

University, the Seventh Circuit rejected a substantive-due-process challenge to a vaccination

mandate at a public university, applying Glucksberg and reasoning that “Jacobson, which

sustained a criminal conviction for refusing to be vaccinated, shows that plaintiffs lack such a

[fundamental] right [under the Due-Process Clause to refuse vaccines]. To the contrary,

vaccination requirements, like other public-health measures, have been common in this nation.”

7 F.4th 592, 593 (7th Cir. 2021) (denying injunctive relief).



                                                 22
        Similarly, in Lukaszczyk v. Cook Cnty., the Seventh Circuit reviewed three state and local

vaccination policies. In a thorough opinion by Judge Brennan, the court acknowledged the

“important privacy interests” that compelled vaccination implicates, but concluded that “the

record developed and presented . . . does not demonstrate that these interests qualify as a

fundamental right under substantive due process.” 47 F.4th 587, 602 (7th Cir. 2022), cert. denied

sub nom. Troogstad v. Chicago, IL, No. 22-461, 2023 WL 192006 (U.S. Jan. 17, 2023).

“Following [the relevant] authority, we decline to apply strict scrutiny and instead review for

rational basis.” Id. (denying injunctive relief).

        Finally, the Second Circuit in We The Patriots USA, Inc. v. Hochul penned a line that this

Court easily could have written here: “In Cruzan, a case relied upon by Plaintiffs for the

proposition that they have a fundamental constitutional right to refuse medical treatment, the

Court expressly recognized its holding in Jacobson that ‘an individual’s liberty interest in

declining an unwanted smallpox vaccine’ was outweighed there by ‘the State’s interest in

preventing disease.’ Plaintiffs provide no basis for concluding that the vaccination requirement

here, considerably narrower than the city-wide mandate in Jacobson, violates a fundamental

constitutional right.” 17 F.4th 266, 293 (2nd Cir. 2021) (internal citation omitted) (denying

injunctive relief).

        Plaintiffs here point generally to a “fundamental right to bodily integrity to make their

own informed medical decisions.” Doc. 24 at ¶ 191. But specifically, Plaintiffs claim a right to

refuse vaccines, id. at ¶ 192—a proposition that finds no footing in substantive-due-process

caselaw, especially bearing in mind the need to be “reluctant to expand the concept of

substantive due process . . . .” Collins, 503 U.S. at 125 (citing Regents of Univ. of Mich., 474

U.S. at 225–26). While the Policy here indeed implicates important privacy interests, nothing in



                                                    23
Plaintiffs’ complaint or briefing—or in the Court’s independent research—leads the Court to

conclude that refusing vaccination is a “fundamental right” under the Due Process Clause of the

Fourteenth Amendment.

       Accordingly, the Court applies rational-basis review to the Policy. Gallagher, 699 F.3d at

1019. As noted, a law survives rational-basis review “if it is rationally related to a legitimate

state interest.” Birchansky, 955 F.3d at 757 (first citing F.C.C., 508 U.S. at 313; and then citing

Cab Drivers Ass’n, 742 F.3d at 809); see Carter, 392 F.3d at 968 (affirming district court’s

dismissal of equal-protection and due-process claims upon rational-basis review). For Plaintiffs’

claim to survive the instant motion, the Court would have to infer that the Policy plausibly lacks

any reasonable connection to the District’s interests. The Court cannot do that.

        As noted, the District asserted interests in “provid[ing] a free public education to

students,” Doc. 24-1 at p. 1, and stemming the spread of COVID-19 so as to “safeguard the

health and well-being of employees and their families,” id. The Policy did not force Plaintiffs to

receive vaccines; it put them to a choice between receiving the vaccine or losing their jobs.

Putting Plaintiffs to such a choice—while perhaps a drastic measure—certainly may bear a

rational relationship to the District’s stated interests. Common sense dictates that COVID-19, as

a virus, likely possessed a certain degree of transmissibility and that keeping unvaccinated

teachers and staff at their posts may have threatened those interests. While reasonable minds

may disagree on the wisdom of the Policy, the Court must merely discharge its duty to ask

whether Plaintiffs have plausibly negated all possible rational connections between the Policy

and the District’s interests. They have not, though this is not to say anything about Plaintiffs’

First-Amendment claims. Accordingly, Plaintiffs have failed to state a substantive-due-process

claim, and the Court grants the motion to dismiss as to count 2.



                                                 24
        C.      Equal-Protection Claim

        Plaintiffs also bring a § 1983 claim under the Equal Protection Clause of the Fourteenth

Amendment: “No State shall . . . deny to any person within its jurisdiction the equal protection

of the laws.” U.S. Const. amend. XIV, § 1. The Clause “is essentially a direction that

all persons similarly situated should be treated alike.” City of Cleburne, Tex. v. Cleburne Living

Ctr., 473 U.S. 432, 439 (1985) (citing Pyler v. Doe, 457 U.S. 202, 216 (1882)). It protects

“fundamental rights” and members of “suspect classifications.” Brandt v. Davis, 191 F.3d 887,

893 (8th Cir. 1999) (quoting Batra v. Bd. of Regents of the Univ. of Neb., 79 F.3d 717, 721 (8th

Cir. 1996). In an early Equal-Protection case, the Supreme Court held that a law may be “fair on

its face,” but “if it is applied and administered by a public authority with an evil eye and an

unequal hand, so as practically to make unjust and illegal discriminations between persons in

similar circumstances, material to their rights, the denial of equal justice is . . . within the

prohibition of the constitution.” Yick Wo v. Hopkins, 118 U.S. 356, 373–74 (1886).

        Equal-Protection plaintiffs generally must prove “the existence of purposeful

discrimination.” Ashaheed v. Currington, 7 F.4th 1236, 1250 (10th Cir. 2021) (quoting

McCleskey v. Kemp, 481 U.S. 279, 292 (1987)); Snowden v. Hughes, 321 U.S. 1, 8 (1944) (“The

unlawful administration by state officers of a state statute fair on its face, resulting in its unequal

application to those who are entitled to be treated alike, is not a denial of equal protection unless

there is shown to be present in it an element of intentional or purposeful discrimination. This

may appear on the face of the action taken with respect to a particular class of person, or it may

only be shown by extrinsic evidence showing a discriminatory design to favor one individual or

class over another not to be inferred from the action itself.” (citing Yick Wo, 118 U.S. at 373–74)

(internal citation omitted)). If the state action interferes with fundamental rights or involves a



                                                   25
suspect classification, the reviewing court applies strict scrutiny. Ashaheed, 7 F.4th at 1250 (first

citing Fisher v. Univ. of Tex. at Austin, 570 U.S. 297, 310 (2013); and then citing Save Palisade

FruitLands v. Todd, 279 F.3d 1204, 1210 (10th Cir. 2002)); Jesus Christ Is the Answer

Ministries, Inc. v. Baltimore Cnty., Maryland, 915 F.3d 256, 265 (4th Cir. 2019) (citing Bostic v.

Schaefer, 760 F.3d 352, 375 (4th Cir. 2014)), as amended (Feb. 25, 2019).

       The first question is whether the District failed to treat alike “all persons similarly

situated.” City of Cleburne, 473 U.S. at 439 (citing Pyler, 457 U.S. at 216). In Yick Wo, a local

ordinance, with the aim of reducing the risk of fires, gave local officials “a naked and arbitrary

power to give or withhold consent” to individuals wishing to operate a laundry business. 118

U.S. at 366. The local officials withheld consent from, and so denied equal protection to, all

Chinese applicants—apparently simply because they were Chinese—while granting consent to

non-Chinese applicants. Id. at 373–74.

       Likewise, the Policy at issue here, apparently passed with the aim of ensuring a free,

public education to students and stemming the spread of COVID-19, Doc. 24-1 at p. 1, gave the

District discretion to give or withhold exemptions from the Policy’s vaccine mandate, Doc. 24 at

¶ 59, 64, 78. The Policy contemplates a group of similarly situated individuals—those who

object to receiving a COVID-19 vaccine. The Policy appears to set out for all who so object the

same exemption-application process, whether their objection arises from religious beliefs,

disability, or other medical reasons. Doc. 24-1 at pp. 1–2. The Policy allowed all objectors

within these three categories to seek exemptions, but the District categorically withheld, without

having conducted any administrative review, consent from all religious-exemption applicants—

apparently simply because they were religious—while apparently reviewing all and granting

most of the non-religious requests. Id. at ¶¶ 72–78, 84, 87.



                                                 26
       Moreover, the District plausibly took its course “with an element of intentional or

purposeful discrimination.” Snowden, 321 U.S. at 8. True, the District denied certain non-

religious requests in addition to denying the religious requests. Doc. 24 at ¶¶ 79–80. But that

does not, by itself, render implausible any religious discrimination. The District plausibly denied

equal protection to Plaintiffs, with an element of discrimination, when it allegedly reviewed, and

made individual determinations on, non-religious requests for exemptions while categorically

denying all religious exemption requests without even the benefit of individualized review. Id. at

¶¶ 72–80. To analogize again to Yick Wo, the Supreme Court there took issue with the fact that

the ordinance allowed local officials to withhold consent whether or not the officials conducted

an administrative review of an applicant’s “personal character and qualifications.” 118 U.S. at

368. Here, too, the Policy in its operation allegedly allowed the District to decide not only which

applicants merited an exemption, but also which kinds of applications even deserved

administrative review in the first place. Doc. 24 at ¶¶ 71–80. In effect, the Court can reasonably

infer that the District decided that the requests of religious persons, for whatever reason, did not

merit the same solicitude or administrative attention that the requests of non-religious persons

merited. Id. at ¶ 84 (“The district has offered no plausible explanation why it treated medical

and disability accommodation requests more favorably than those seeking religious

[accommodations].”); id. at ¶¶ 78, 87.

       Concluding that the District plausibly denied Plaintiffs equal protection of the laws with

an element of intentional or purposeful discrimination, the Court turns to the question whether

the Policy as alleged plausibly interferes with the fundamental right to free exercise or makes a

suspect classification. See Ashaheed, 7 F.4th at 1250–51. If so, the Court must apply strict




                                                 27
scrutiny to the Policy. Id. at 1250 (first citing Fisher, 570 U.S. at 310; and then citing Save

Palisade FruitLands, 279 F.3d at 1210).

       Plaintiffs have plausibly alleged that the Policy interferes with their fundamental free-

exercise rights. “[U]nquestionably, the free exercise of religion is a fundamental constitutional

right” for Equal Protection purposes. Jesus Christ Is the Answer, 915 F.3d at 265 (quoting

Johnson v. Robison, 415 U.S. 361, 375 n.14 (1974)), as amended (Feb. 25, 2019); San Antonio

Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1, 33 (1973) (A right is “fundamental” when it is

“explicitly or implicitly guaranteed by the Constitution.”). The Court incorporates here its

analysis of Plaintiffs’ First-Amendment claim, in which the Court found that the Policy as

alleged plausibly impermissibly burdened Plaintiffs’ free-exercise rights. Cf. Jesus Christ Is the

Answer, 915 F.3d at 265 (finding a burdening of plaintiff’s free-exercise rights for equal-

protection purposes after finding a “substantial burdening” of those rights under RLUIPA).

       Plaintiffs have also plausibly alleged that the Policy draws a distinction as to a protected

class. Suspect classifications for Equal Protection purposes include religious classifications.

Ashaheed, 7 F.4th at 1251; City of New Orleans v. Dukes, 427 U.S. 297, 303 (1976) (referring to

“inherently suspect distinctions such as race, religion, or alienage” in explaining when courts

apply strict scrutiny in equal-protection cases). And Plaintiffs have adequately alleged, as noted

above, that the District chose to treat religious requests differently than other requests by

deciding to categorically withhold exemptions without the benefit of administrative review.

Doc. 24 at ¶ 71, 84, 86–87.

       Accordingly, both (1) the Policy’s plausible interference with Plaintiffs’ fundamental

free-exercise rights and (2) its plausibly unlawful classification of religious persons in its

application-review process independently compel the Court to apply strict scrutiny. Ashaheed, 7



                                                  28
F.4th at 1250. The Court has already found that the Policy as alleged plausibly fails strict-

scrutiny review above and need not repeat that analysis here. The Court need not address the

District’s argument that Plaintiffs do not have a fundamental right to work for the District, Doc.

28 at pp. 14–15, because Plaintiffs have alleged the District’s interference with their free-

exercise rights, and their claim can proceed. Plaintiffs may face an uphill climb in seeking to

prove the elements of their equal-protection claim, but for now they have alleged enough to

“nudge[] their claims across the line from conceivable to plausible.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007). The Court, then, denies Defendants’ motion as to count 3.

       D.      Title-VII Claim

       Plaintiffs bring a claim under Title VII of the Civil Rights Act of 1964 against Defendant

Board of Education only. Title VII states:

       It shall be an unlawful employment practice for an employer –

       (1) to fail or refuse to hire or to discharge any individual, or otherwise to
       discriminate against any individual with respect to his compensation, terms,
       conditions, or privileges of employment, because of such individual’s race, color,
       religion, sex, or national origin; or

       (2) to limit, segregate, or classify his employees or applicants for employment in
       any way which would deprive or tend to deprive any individual of employment
       opportunities or otherwise adversely affect his status as an employee, because of
       such individual’s race, color, religion, sex, or national origin.

42 U.S.C. § 2000e-2(a). This provision requires but-for causation. Bostock v. Clayton Cnty.,

140 S. Ct. 1731, 1740 (2020). To establish a prima facie case of religious discrimination under

Title VII, a plaintiff must show that he or she “(1) has a bona fide religious belief that conflicts

with an employment requirement, (2) informed the employer of such conflict, and (3) suffered an

adverse employment action.” Ollis v. HearthStone Homes, Inc., 495 F.3d 570, 575 (8th Cir.

2007) (citing Seaworth v. Pearson, 203 F.3d 1056, 1057 (8th Cir. 2000)).



                                                  29
        To survive a Rule 12(b)(6) motion in a Title VII case, the plaintiff need not plead facts

establishing a prima facie case because the prima facie case is an evidentiary standard, not a

pleading requirement. Wilson v. Arkansas Dep’t of Hum. Servs., 850 F.3d 368, 372 (8th Cir.

2017) (quoting Swierkiewicz v. Sorema N.A., 534 U.S. 506, 511 (2002)). Federal Rule of Civil

Procedure 8(a)’s “simplified notice pleading standard relies on liberal discovery rules and

summary judgment motions to define disputed facts and issues and to dispose of unmeritorious

claims.” Swierkiewicz, 534 U.S. at 512–13. However, “elements of the prima facie case are

[not] irrelevant to a plausibility determination in a discrimination suit. Instead, such elements are

part of the background against which a plausibility determination should be made.” Blomker v.

Jewell, 831 F.3d 1051, 1056 (8th Cir. 2016) (internal citations and quotations omitted). The

Court uses the elements of the prima facie case of discrimination based on religion as a “prism”

to shed light on the plausibility of Plaintiffs’ claim. Id.

        First, Plaintiffs have adequately pleaded that they had “bona fide religious beliefs that

conflict[ed]” with the requirement of vaccination. Ollis, 495 F.3d at 575. Plaintiffs plead that

“[e]ach of the Plaintiffs have sincerely held religious beliefs that prevent them from receiving the

COVID-19 vaccines.” Doc. 24 at ¶ 69. The fact that Plaintiffs did not cave to the pressure to

receive the vaccines even when threatened with termination, id. at ¶¶ 124–25, 129, further

supports an inference that Plaintiffs’ beliefs were “bona fide.” Ollis, 495 F.3d at 575.

        Second, Plaintiffs informed the Board of the conflict between their religious beliefs and

the vaccination requirement when they submitted religious-exemption requests to the Board

pursuant to the Policy. Doc. 24 at ¶¶ 64–69.

        Third, Plaintiffs allege that the Board suspended without pay the teacher-Plaintiffs and

terminated the non-certified Plaintiffs, except for Plaintiffs Wendy Huddleston and Jamell Wren,



                                                  30
who received medical exemptions and kept their jobs. Id. at ¶¶ 133–35 Termination, as the

paradigmatic adverse-employment action under Title VII, satisfies the third element. See

Carpenter v. Con-Way Cent. Express, Inc., 481 F.3d 611, 616 (8th Cir. 2007) (quoting Thompson

v. Bi-State Dev. Agency, 463 F.3d 821, 825 (8th Cir. 2006)). And suspension for roughly three

months without pay, akin as it is to a temporary termination, likewise plausibly satisfies the third

element. See Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 73 (2006) (finding

reasonable a jury’s conclusion that a 37-day suspension without pay was materially adverse

under Title VII). Accordingly, all Plaintiffs, except Wendy Huddleston and Jamell Wren, have

plausibly satisfied the third element.

       “Once a plaintiff establishes a prima facie case, the burden shifts to the employer to show

that accommodation would result in undue hardship to the employer.” Seaworth v. Pearson, 203

F.3d 1056, 1057 (8th Cir. 2000) (first citing Toledo v. Nobel-Sysco, Inc., 892 F.2d 1481, 1486

(10th Cir. 1989); then citing Wilson v. U.S. West Commc’ns, 58 F.3d 1337, 1340 (8th Cir. 1995);

and then citing 42 U.S.C. § 2000e(j)). Under 42 U.S.C. § 2000e(j), “[t]he term ‘religion’

includes all aspects of religious observance and practice, as well as belief, unless an employer

demonstrates that he is unable to reasonably accommodate to an employee’s or prospective

employee’s religious observance or practice without undue hardship on the conduct of the

employer’s business.” The Supreme Court has defined “undue hardship” as “more than a de

minimis cost.” Brown v. Polk Cnty., Iowa, 61 F.3d 650, 655 (8th Cir. 1995) (quoting Trans

World Airlines, Inc. v. Hardison, 432 U.S. 63, 84 (1977)). “Any hardship asserted, furthermore,

must be ‘real’ rather than ‘speculative.’” Id. (quoting Cook v. Chrysler Corp., 981 F.2d 336, 339

(8th Cir. 1992)).




                                                 31
       Here, Plaintiffs’ allegations support the inference that the Board’s course of action sought

to avoid any cost associated with reviewing and granting Plaintiffs’ requests. Doc. 24 at ¶¶ 71–

76, 84, 86–88, 90. But the law requires employers to grant accommodations amounting to no

more than a de minimis cost. Plaintiffs have alleged the existence of accommodations—which

the Board had previously used and used again in the cases of medical disability exemptions—

that, the Court can reasonably conclude, would have imposed only a de minimis cost on the

District. Id. at ¶¶ 90–94, 179. The Board, of course, may challenge Plaintiffs’ factual assertions

with facts of their own at a later stage in this litigation, see Swierkiewicz, 534 U.S. at 512–13, but

for now, suspended and terminated Plaintiffs have asserted enough to state a claim under Title

VII. Accordingly, as to all Plaintiffs except Wendy Huddleston and Jamell Wren, the Court

denies the motion to dismiss count 5; as to Plaintiffs Wendy Huddleston and Jamell Wren, the

Court grants the motion to dismiss count 5.

       E.      Claim under the Missouri Human Rights Act

       Plaintiffs also bring an employment-related-religious-discrimination claim under the

Missouri Human Rights Act (MHRA) against the Defendant Board of Education only. The

Missouri Human Rights act, which largely mirrors Title VII in all relevant respects here, states:

       1. It shall be an unlawful employment practice:

       (1) For an employer, because of the race, color, religion, national origin, sex,
           ancestry, age or disability of any individual:

       (a) To fail or refuse to hire or to discharge any individual, or otherwise to
           discriminate against any individual with respect to his compensation, terms,
           conditions, or privileges of employment, because of such individual’s race,
           color, religion, national origin, sex, ancestry, age or disability;

       (b) To limit, segregate, or classify his employees or his employment applicants in
           any way which would deprive or tend to deprive any individual of
           employment opportunities or otherwise adversely affect his status as an



                                                 32
            employee, because of such individual’s race, color, religion, national origin,
            sex, ancestry, age or disability[.]

Mo. Rev. Stat. § 213.055.1(1). “The MHRA and Title VII are coextensive, but not identical,

acts.” Brady v. Curators of Univ. of Missouri, 213 S.W.3d 101, 112 (Mo. Ct. App. 2006)

(quoting Hammond v. Mun. Correction Inst., 117 S.W.3d 130, 136 (Mo. Ct. App. 2003))

(emphasis deleted). “Missouri Courts have adopted Title VII case law when interpreting

analogous discrimination statutes in the Missouri Human Rights Act.” Id. at 113 (citing

Hammond, 117 S.W.3d at 137). The MHRA’s prohibition against religious-based discrimination

mirrors Title VII’s, except that the MHRA requires a showing of “motivating factor” causation,

Mo. Rev. Stat. § 213.010(2), whereas Title VII requires “but-for” causation, see Bostock, 140 S.

Ct. at 1740. The MHRA defines “motivating factor” as follows: “the employee’s protected

classification actually played a role in the adverse action or decision and had a determinative

influence on the adverse decision or action.” Mo. Rev. Stat. § 213.010(19).

        The Court has not found, nor have the parties cited, any Missouri cases on religious

discrimination under the MHRA, so the Court incorporates here its Title-VII analysis as to all

elements of Plaintiffs’ MHRA claim except causation (the only materially different element

between the statutes). See Brady, 213 S.W.3d at 113 (citing Hammond, 117 S.W.3d at 137). As

for the causation requirement, the difference in the two statutes’ standards makes no difference

here. Above, the Court found plausible Plaintiffs’ assertions that, but for their religious beliefs,

they would not have suffered adverse employment actions. And the Court can easily infer here

that the religion of each Plaintiff “actually played a role in the adverse action[s] . . . and had a

determinative influence on the adverse . . . action[s],” Mo. Rev. Stat. § 213.010(19), because

Plaintiffs’ religious beliefs, not some other force or consideration, compelled them to refrain

from receiving COVID-19 vaccinations. Doc. 24 at ¶ 68. Accordingly, for reasons stated above,

                                                  33
all Plaintiffs except Wendy Huddleston and Jamell Wren have stated an MHRA claim, and the

Court denies the motion to dismiss count 4 as to those Plaintiffs. The Court grants the motion to

dismiss count 4 as to Wendy Huddleston and Jamell Wren.

       F.      Claim under the Missouri Religious Freedom Restoration Act

       Plaintiffs bring a claim against all Defendants under the Missouri Religious Freedom

Restoration Act (MRFRA). The MRFRA states, in part:

       1. A governmental authority may not restrict a person’s free exercise of religion,
          unless:

       (1) The restriction is in the form of a rule of general applicability, and does not
           discriminate against religion, or among religions; and

       (2) The governmental authority demonstrates that application of the restriction to
           the person is essential to further a compelling governmental interest, and is
           not unduly restrictive considering the relevant circumstances.

Mo. Rev. Stat. § 1.302.1. The MRFRA “appl[ies] to all state and local laws, resolutions and

ordinances and the implementation of such laws, resolutions, and ordinances, whether statutory

or otherwise.” Mo. Rev. Stat. § 1.307.1.

       Defendants argue: (1) that the Missouri Human Rights Act partially repeals the MRFRA

by implication; (2) that MRFRA provides no private right of action; and (3) that the MRFRA on

its face does not apply to the Policy, which is not a “law[],” “resolution[],” or “ordinance[].”

Doc. 28 at pp. 27–28; Doc. 33 at p. 15. As a threshold matter, the Court would have to reject all

three arguments to proceed in its analysis of Plaintiffs’ claim—and all three arguments present

state-law matters of first impression. See Marianist Province of United States v. City of

Kirkwood, 944 F.3d 996, 1004 (8th Cir. 2019) (noting the poverty of caselaw on the MRFRA).

The Court avoids the Charybdis that last two arguments represent and sails instead toward the




                                                 34
less-deadly Scylla represented by the first: whether the Missouri Human Rights Act partially

repealed the MRFRA by implication.

       While no Missouri (or federal) court appears to have interpreted the preemption clause of

the Missouri Human Rights Act as it applies to MRFRA, the Court can resolve the matter with

the ordinary tools of statutory interpretation that Missouri courts use. Where “the

Supreme Court of Missouri has not addressed an issue, [the Court] must predict how

the court would rule.” Davis v. Buchanan Cnty., Missouri, 5 F.4th 907, 909 (8th Cir. 2021)

(quoting Washington v. Countrywide Home Loans, Inc., 747 F.3d 955, 958 (8th Cir. 2014)).

That means the Court must “apply Missouri’s rules of statutory construction when interpreting

Missouri statutes.” In re Dittmaier, 806 F.3d 987, 989 (8th Cir. 2015); see also Gershman v. Am.

Cas. Co. of Reading, Pa., 251 F.3d 1159, 1162–63 (8th Cir. 2001) (“[W]e are bound by

Missouri’s rules of statutory construction.”). “The seminal rule of statutory construction [in

Missouri] is to ascertain the intent of the legislature from the language used and to consider the

words used in their plain and ordinary meaning.” Missouri Beverage Co. v. Shelton Bros., 669

F.3d 873, 877 (8th Cir. 2012) (quoting St. Louis Cnty. v. Prestige Travel, Inc., 344 S.W.3d 708,

713–14 (Mo. 2011)).

       The relevant text of the Missouri Human Rights Act, which the General Assembly

amended most recently in 2017, states that “[t]his chapter, in addition to chapter 285 [The

Whistleblower’s Protection Act] and chapter 287 [The Workers’ Compensation Law], shall

provide the exclusive remedy for any and all claims for injury or damages arising out of an

employment relationship.” Mo. Rev. Stat. § 213.070 (emphasis added). The Act allows for both

legal and equitable remedies. Mo. Rev. Stat. § 213.111.2. Plaintiffs attempt to bring a claim

“arising out of an employment relationship” under the MRFRA, alleging that “[t]he District’s



                                                35
implementation of [the Policy] violates Plaintiffs’ exercise of free religion” and seeking

declaratory and injunctive relief. Doc. 24 at ¶¶ 248, 255. Defendants point to the plain language

of the Missouri Human Rights Act, arguing that it bars MRFRA claims arising out of an

employment relationship.

       The Missouri Human Rights Act does not define the key words—“exclusive” and

“remedy”—but “[a]bsent a statutory definition, the plain and ordinary meaning of the specific

words used must be followed.” State ex rel. Broadway-Washington Assocs., Ltd. v. Manners,

186 S.W.3d 272, 275 (Mo. 2006) (citing Ports Petroleum Co., Inc. of Ohio v. Nixon, 37 S.W.3d

237, 240 (Mo. 2001)). “Exclusive” means “single” or “sole.” Webster’s Third New

International Dictionary 793 (2002). “Remedy” means “the legal means to recover a right or to

prevent or obtain redress for a wrong.” Id. at 1920. Thus, the Missouri Human Rights Act and

two other enumerated statutes not at issue here provide the sole means to obtain redress for

employment-related wrongs. Plaintiffs have already stated a religious-discrimination claim

under the Missouri Human Rights Act that plausibly involved “unlawful employment

practices,” Mo. Rev. Stat. § 285.575.3, and that “ar[ose] out of an employment relationship,”

Mo. Rev. Stat. § 213.070.2.

       Concluding that the Missouri Human Rights Act bars claims arising from an employment

relationship under the MRFRA presents a difficulty: implied repeal “is not favored.” Vining v.

Probst, 186 S.W.2d 611, 615 (Mo. Ct. App. 1945). A number of countervailing considerations

put this worry to rest, however. First, “[i]f there be any conflict between two statutes dealing

with the same common subject matter, the statute which deals with it in a minute and particular

way will prevail over one of a more general nature; and the statute which takes effect at the later

date will also usually prevail.” Id. at 615. The Missouri Human Rights Act deals with religious-



                                                36
discrimination claims arising from an employment relationship in a “minute and particular

way”—indeed, it defines such claims and grants a cause of action to seek appropriate remedies.

Mo. Rev. Stat. §§ 213.055.1, 213.070, 213.111. The MRFRA, in contrast, broadly bars all

“restrict[ions]” on “a person’s free exercise of religion”—whether in the employment context or

not—and does not specify what, if any, remedies a plaintiff may seek. Mo. Rev. Stat. § 1.302.1.

Further, the General Assembly amended the Missouri Human Rights Act to include the

“exclusive remedy” provision in 2017, whereas the MRFRA has remained untouched since 2003.

So the Court ought to resolve the conflict in favor of the more specific, more recent Missouri

Human Rights Act. See Vining, 186 S.W.2d at 615.

       Second, “[i]f the later law did repeal the earlier, in part, by implication, it only did so

insofar as the two may be in conflict.” Vining, 186 S.W.2d at 615. Here, the Missouri Human

Rights Act surely did not impliedly repeal the MRFRA in its entirety; the Court limits its

conclusion to the proposition that the Missouri Human Rights Act partially repeals the MRFRA

insofar as religious-discrimination claims arising from an employment relationship are

concerned. The Missouri Human Rights Act appears to leave the MRFRA otherwise untouched.

       Third, the Missouri Supreme Court “presume[s] the General Assembly legislates with

knowledge of existing laws.” Turner v. Sch. Dist. of Clayton, 318 S.W.3d 660, 667–68 (Mo.

2010). Presumably, then, the General Assembly knew of the MRFRA’s broad protection of

religious exercise but chose instead to funnel employment-related claims through the Missouri

Human Rights Act. The Court has not found, nor have the parties cited, any case in which a

court found an exception to the Missouri Human Rights Act’s plain “exclusive remedy”

language.




                                                 37
       Fourth, the Missouri Supreme Court has long applied the maxim “expressio unius est

exlusio alterius,” which “is never more applicable than in the construction of statutes.” Keane v.

Strodtman, 18 S.W.2d 896, 898 (Mo. 1929). According to this maxim, “the express mention of

one thing implies the exclusion of another.” Disalvo Properties, LLC v. Bluff View Com., LLC,

464 S.W.3d 243, 245 (Mo. Ct. App. 2015) (quoting McCoy v. The Hershewe Law Firm,

P.C., 366 S.W.3d 586, 593–94 (Mo. Ct. App. 2012)). “This particular rule, which should be

used with great caution, allows an inference that obvious omissions by the legislature are

generally presumed to be intentional exclusions.” Id. (first citing McCoy, 366 S.W.3d at 594;

and then citing Six Flags Theme Parks, Inc. v. Dir. of Revenue, 179 S.W.3d 266, 269–70 (Mo.

2005). The Missouri Human Rights Act expressly mentions three—and only three—

“exclusive[]” statutes under which plaintiffs can bring claims arising out an employment

relationship and thereby “implie[dly]” excluded other statutes. Accordingly, this maxim further

supports the conclusion that the General Assembly intended to preempt MRFRA claims arising

from an employment relationship.

       Fifth, and relatedly, Missouri Courts “enforce statutes as they are written, not as they

might have been written.” Id. at 249 (quoting Smith v. McAdams, 454 S.W.3d 418, 421 (Mo. Ct.

App. 2015)). Courts may “not engraft upon [a] statute provisions which do not appear in explicit

words or by implication from other words in the statute.” Id. (quoting State v. Collins, 328

S.W.3d 705, 709 n.6 (Mo. 2011)) (alteration in original). Plaintiffs argue that the General

Assembly intended to bar only common-law causes of action for claims arising from an

employment relationship. Doc. 32 at pp. 23–25. That may be possible, but that is not how the

General Assembly drafted the Missouri Human Rights Act. The General Assembly, as noted,

excluded the MRFRA from its enumeration of statutes granting a cause of action for claims



                                                38
arising from an employment relationship, and it expressed no intent to preempt only common-

law causes of action. The text of the Missouri Human Rights Act clearly purports to offer, along

with two other statutes, the exclusive remedy for claims arising from an employment

relationship. Mo. Rev. Stat. § 213.070. The Court cannot, even if it wanted to, “engraft” onto

the Missouri Human Rights Act a MRFRA exception or a provision stating that the Act bars only

common-law claims. Like Odysseus tied to the mast of his ship to resist the alluring call of the

sirens, the Court binds itself to the text of the statute to determine the legislature’s intent and to

avoid the alluring snare of statutory revisionism.

        The Court’s conclusion here accords with the Eight Circuit’s holding that Title VII

preempts the federal Religious Freedom Restoration Act. As noted, Missouri courts often look

to federal Title-VII caselaw when interpreting the Missouri Human Rights Act. Brady, 213

S.W.3d at 113 (citing Hammond, 117 S.W.3d at 137). Like Title VII, the Missouri Human

Rights Act, along with two other statutes, purports to offer the exclusive remedy for claims

arising from an employment relationship. Accordingly, the Eighth Circuit once observed, “Title

VII provides the exclusive remedy for . . . claims of religious discrimination,” and, therefore,

claims for employment-related-religious discrimination claims under RFRA “are barred.”

Harrell v. Donahue, 638 F.3d 975, 984 (8th Cir. 2011).

        Because Plaintiffs seek remedies for a claim arising from an employment relationship,

they must bring that claim under an appropriate statute (as indeed they have). Accordingly, the

Court grants Defendants’ motion as to count 6.

        G.      Claim under Mo. Rev. Stat. § 188.120

        Plaintiffs finally bring a claim under Mo. Rev. Stat. § 188.120, which the General

Assembly passed in 1986 (for simplicity, “the 1986 Act”). The 1986 Act provides a cause of



                                                  39
action to “[a]ny individual injured by any person, association, corporation, or entity by reason of

any action prohibited by sections 188.100 to 188.120.” One of these covered provisions defines

the following prohibited action:

       1. It shall be unlawful:

       (1) For an employer:

       (a) To fail or refuse to hire or to discharge any individual, or otherwise to
           discriminate against any individual with respect to his or her compensation,
           terms, conditions, or privileges of employment, because of such individual’s
           refusal to participate in abortion.

Mo. Rev. Stat. § 188.105.1(1)(a). The 1986 Act in turn defines “participate in abortion” as

follows: “to perform, assist in, refer for, promote, procure, or counsel a woman to have an

abortion not necessary to save the life of the mother; or to undergo an abortion.” Mo. Rev. Stat.

§ 188.100(2).

       Here, too, the District argues that the Missouri Human Rights Act partially repeals by

implication the 1986 Act. Doc. 28 at p. 27. Plaintiffs respond that the Missouri Human Rights

Act does not repeal the 1986 Act because the 1986 Act employs a broader definition of

“employer” than the Missouri Human Rights Act. The Missouri Human Rights Act states that its

definition of “employer” “shall not include . . . [a]n individual employed by an employer.” Mo.

Rev. Stat. § 213.010(8)(c). The 1986 Act, on the other hand, defines “employer” as “the state, or

any political or civil subdivision thereof, or any person employing two or more persons within

the state, and any person acting as an agent of the employer.” Mo. Rev. Stat. § 188.100(1)

(emphasis added). The Missouri Human Rights Act, so the argument goes, does not preempt the

1986 Act because the Missouri Human Rights Act is narrower in scope than the 1986 Act. The

Court need not venture into that analysis because, even if the Missouri Human Rights Act did not

preempt the 1986 Act, Plaintiffs have not stated a claim under it.

                                                40
       Plaintiffs’ allegations do not raise the reasonable inference that the District discriminated

against them for their “refusal to participate in abortion.” Mo. Rev. Stat. § 188.105.1(1)(a)

(emphasis added). The District allegedly terminated or suspended Plaintiffs for refusing to

receive vaccines. Doc. 24 at ¶¶ 256–66. And the vaccines, Plaintiffs allege, were “developed,

tested and/or manufactured using aborted fetuses.” Id. at ¶ 261. The Court assumes that they

mean to argue that receiving the vaccine would amount to “promot[ing]” abortion under the 1986

Act, as “promote” is the only verb from the statutory definition that receiving a vaccine could

conceivably fall under. Id. That argument fails.

       The parties have not cited, nor has the Court found, any Missouri cases interpreting the

1986 Act. Indeed, Plaintiffs do not offer any argument in support of claim other than the

assertion that “the claim is straightforward,” Doc. 32 at p. 27. The Court, again, must “predict

how the [Supreme Court of Missouri] would rule” by applying its rules of statutory

interpretation. Davis, 5 F.4th at 909 (quoting Washington, 747 F.3d at 958). Applying those

rules here, the Court concludes that the General Assembly did not intend to protect, through this

statute, employees who refuse to use or receive products, like the vaccines, that bear some

connection to abortion.

       Crucially, the statutory definition of “participate in abortion”—i.e., “to perform, assist in,

refer for, promote, procure, or counsel a woman to have an abortion not necessary to save the life

of the mother; or to undergo an abortion”—lists verbs that relate to “an abortion not necessary to

save the life of the mother” and “an abortion.” Mo. Rev. Stat. § 188.100(2) (emphasis added).

As the article-adjective “an” makes clear, those verbs relate to a particular abortion, not abortion

generally. The plain text of the statute compels this reading. But even if the statute were




                                                 41
ambiguous as to whether “promote” referred to abortion generally, the Missouri Supreme

Court’s methods of statutory interpretation confirm the Court’s reading.

       Where a “word at issue appears in the statute within a list of words, the [Missouri

Supreme] Court will apply the principle of statutory construction known as noscitur a sociis—a

word is known by the company it keeps.” Union Elec. Co. v. Dir. of Revenue, 425 S.W.3d 118,

122 (Mo. 2014) (citing Aquila Foreign Qualifications Corp. v. Dir. of Revenue, 362 S.W.3d 1, 5

(Mo. 2012)). “Under this principle, a court looks to the other words listed in a statutory

provision to help it discern which of multiple possible meanings the legislature intended.” Id.

(citing Albanna v. State Bd. of Registration for Healing Arts, 293 S.W.3d 423, 431 (Mo. 2009)).

The verb “promote” must relate to a single abortion because the adjacent verbs “perform,”

“assist in,” “refer for,” “procure,” “counsel a woman to have,” and “undergo” can only relate to a

particular abortion, not abortion writ large. Mo. Rev. Stat. § 188.100(2).

       Plaintiffs, to be sure, do allege that the vaccines relate to single abortions, but abortions

that occurred decades ago. In particular they allege that the Pfizer and Moderna vaccines “used

fetal cell line HEK 293 during the research and development phase. All HEK 293 cells are

descended from tissue taken from a 1973 abortion that took place in the Netherlands. . . . [And]

[a]ll PER.C6 cells used to manufacture the Johnson & Johnson vaccine are descended from

tissue taken from a 1985 abortion that took place in the Netherlands.” Doc. 24 at ¶ 115. But

Plaintiffs fail to establish how receiving a vaccine that bears a connection to an abortion that took

place generations ago amounts to “promot[ing],” and so “participat[ing]” in, that abortion. Mo.

Rev. Stat. § 188.100(2).

         On Plaintiffs allegations, the Court cannot draw the reasonable inference that receiving

the vaccine amounts to “promot[ing],” and so “participat[ing]” in, abortion under the 1986 Act.



                                                 42
Receiving a vaccine that used cells derived from an abortion in its research, development, and/or

manufacture does not reasonably fall within the plain meaning of “promot[ing]” an abortion.

Because Plaintiffs have failed to state a claim under the 1986 Act, the Court grants Defendants’

motion to dismiss as to count 7.

IV.    Conclusion

       Accordingly, the Court fully grants Defendants’ motion as to counts 2 (Due Process

claim), 6 (MRFRA claim), and 7 (1986 Act claim). The Court further grants the motion to

dismiss counts 4 (MHRA claim) and 5 (Title VII claim) only as to Plaintiffs Wendy Huddleston

and Jamell Wren. The Court fully denies Defendants’ motion to dismiss as to counts 1 (First

Amendment claim) and 3 (Equal Protection claim). The Court denies the motion to dismiss

counts 4 (MHRA claim) and 5 (Title VII claim) as to all Plaintiffs except Wendy Huddleston and

Jamell Wren.

       So Ordered this 21st day of June 2023.




                                             STEPHEN R. CLARK
                                             CHIEF UNITED STATES DISTRICT JUDGE




                                                43
